      Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 1 of 29




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  REGINA D. SMITH,

         Plaintiff,

         vs.                                            CIV. ACTION NO._______________

  LEHIGH TECHNOLOGIES, INC.,
  and JONATA JOHNSON,                                   JURY TRIAL DEMANDED

         Defendant.

                               COMPLAINT FOR DAMAGES

      COMES NOW Plaintiff Regina D. Smith, by and through the undersigned

Counsel of Record, and hereby files this Complaint for Damages against Lehigh

Technologies, Inc., and Jonata Johnson, respectfully showing the Court as follows:

                              I. JURISDICTION AND VENUE

                                                 1.

      Plaintiff Regina D. Smith brings the above-captioned case pursuant to Title

VII of the Civil Rights Act of 1964, as amended (“Title VII”), 42 U.S.C. §§ 2000e,

et seq., for gender discrimination and retaliation and the laws of the State of Georgia

for assault, battery, intentional infliction of emotional distress, as well as negligent

retention and supervision.

                                                Page 1 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
      Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 2 of 29




                                                 2.

      The United States District Court for the Northern District of Georgia

(“Court”) is vested with original jurisdiction pursuant to 28 U.S.C. § 1331 because

the above-captioned complaint involves the laws of the United States and with

supplemental jurisdiction pursuant to 28 U.S.C. § 1367 because the State law claims

arise from the same nucleus of operative facts as the Federal law claims.

                                                 3.

      Venue is proper pursuant to 28 U.S.C. § 1391 because Defendants reside

and/or maintain a place of business in the Northern District of Georgia, Atlanta

Division, and the unlawful conduct forming the basis of the above-captioned

complaint occurred in the Northern District of Georgia, Atlanta Division.

                                                 4.

      Prior to commencing this matter, Plaintiff satisfied all administrative

prerequisites to institute this action. Specifically, Plaintiff timely filed a Charge of

Discrimination with the Equal Employment Opportunity (“EEOC”) within one-

hundred-and-eighty (180) calendar days from the day the discrimination took place

(Charge No. 410-2018-06860) and Plaintiff has timely commenced the above-

captioned case within ninety (90) days of receipt of the Notice of Right to Sue, dated

September 8, 2020.

                                                Page 2 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 3 of 29




                                             II. PARTIES

                                                 5.

      Plaintiff Regina D. Smith (“Smith” or “Plaintiff”) is a fifty (50) year old

African-American female, who is a citizen of the United States, resident of the State

of Georgia, subject to this Court’s jurisdiction, and entitled to bring the claims

asserted in the above-captioned case.

                                                 6.

      At all relevant times, Smith was an “employee” of Lehigh Technologies, Inc.,

within the meaning of, among other laws, the Title VII, 42 U.S.C. § 2000e(f).

                                                 7.

      Defendant Leigh Technologies, Inc. (“Lehigh”) is a Delaware profit

corporation and specialty chemical company that produces, inter alia, Micronized

Rubber Powders to more than 60 tire, asphalt, and plastic companies worldwide,

affecting inter-state commerce through its center located in Tucker, Georgia.

                                                 8.

      Lehigh is subject to the Court’s jurisdiction with a principle office and/or

center located at 120 Royal Woods Court, Tucker, Georgia 30084 (“Center”).




                                                Page 3 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
      Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 4 of 29




                                                 9.

      Lehigh is an “employer” within the meaning of, among other laws, Title VII,

42 U.S.C. § 2000e(b), with more than twenty (20) employees for each working day

in each of the twenty (20) or more calendar weeks in the current or preceding

calendar year while engaging in inter-state commerce.

                                                10.

      Lehigh may be served with process through C T Corporation System,

Registered Agent, located at 289 S Culver Street, Lawrenceville, Georgia 30046.

                                                11.

      Defendant Jonata Johnson (“Johnson”)—African-American male—was, at all

relevant times, a citizen of the United States, resident of the State of Georgia, and

subject to the jurisdiction of this Court.

                                                12.

      Johnson served, at all relevant times, as a Line Operator and/or Supervisor

with Lehigh at the Center responsible for, inter alia, assisting employees at the

Center, enforcing Lehigh’s policies and procedures, recruiting, hiring, and training

employees, supervising and evaluating employees, as well as undertaking and

recommending tangible employment actions with respect to Lehigh, such as the

unlawful conduct alleged herein.

                                                Page 4 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 5 of 29




                                                13.

      At all relevant times, Johnson served as Smith’s direct supervisor.

                                                14.

      Johnson may be served at Lehigh’s Center located at 120 Royal Woods Court,

Tucker, Georgia 30084.

                              III. FACTUAL ALLEGATIONS

                                                15.

      Smith re-alleges and incorporates each and every preceding Paragraph of the

above-captioned complaint as if set forth fully herein.

                                                16.

      Lehigh is engaged in the business of producing and providing, inter alia,

Micronized Rubber Powders to companies throughout the world from the Center

located in Tucker, Georgia.

                                                17.

      Smith, a fifty (50) year old African-American female, was employed by

Lehigh as a Cleaner and Production Worker.




                                                Page 5 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 6 of 29




                                                18.

      Prior to working with Lehigh, Smith worked in several positions, including,

but not limited to, Plant Worker with Jacobson Chemicals, Cafeteria and Custodial

Worker with Fulton County School System, as well as a Forklift Operator with

BioLab.

                                                19.

      On or about March 16, 2015, Smith began working for Lehigh as a Cleaner.

                                                20.

      Based upon Smith’s diligent performance, Smith became a Production

Worker, responsible for producing and assembling products, operating and

maintaining machinery, as well as other tasks and assignments at the Center.

                                                21.

      About a year after Smith began working at Lehigh, Johnson began sexually

harassing Smith on a daily, continual, and regular basis.

                                                22.

      On almost a daily basis, Johnson subjected Smith to unwelcomed sexual

advances and comments. For example, while Smith was working at the Center,

Johnson would walk past Smith, take his penis out, and ask Smith to tap it on her

forehead. Furthermore, after Smith began working in Johnson’s department and

                                                Page 6 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 7 of 29




under his direct supervision, Johnson would take Smith to different locations

purportedly requiring cleaning in the Center, where Johnson would attempt to force

Smith to perform oral sex on Johnson. Additionally, Johnson would repeatedly ask,

“Wanna suck my dick?”

                                                23.

      Although Smith repeatedly walked away and declined Johnson’s unwelcome

sexual advances, advised Johnson that the remarks and advances were inappropriate,

and stated that Smith just wanted to do her job, Johnson continued to make

unwelcome sexual advances, requests, and comments.

                                                24.

      Eventually, Smith summoned the courage to report Johnson’s ongoing sexual

harassment to Lehigh. Specifically, Smith reported Johnson’s sexual harassment to

Lehigh’s manager, Rashad, who simply stated, “Well, you know, he’s been here a

long time.” Smith responded, “And that makes it right-- because he has been here

longer?” Unfortunately, Rashad failed to address, let alone take any remedial action,

concerning Johnson’s ongoing sexual harassment.




                                                Page 7 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 8 of 29




                                                25.

      During a meeting on or about February 28, 2020, Johnson sent Smith a text

message, “Shut up bitch.” Smith immediately left the meeting and reported the

disparaging message to Lehigh’s Human Resources Representative, Karen, who

stated, “they are going to fire me” for escalating the matter to Corporate. Whenever

employees complain at Lehigh, Corporate responds adversely and often take

negative actions against complainants. After purportedly escalating the matter,

Karen advised Smith that Johnson would be written-up.                                However, Lehigh’s

Assistant Plant Manager, “Mr. Lee,” directed Karen not to “write up” Johnson, but

rather, “just talk to him”—effectively, Lehigh continued its practice of sweeping

complaints, especially complaints involving Johnson, under the rug.

                                                26.

      Throughout the course of employment, Johnson continued to sexually harass

Smith despite repeated reports and complaints to Lehigh’s management, including,

but not limited to, Julliette Hard (“Hard”), Human Resources Representative, in June

2018. Although the complaints were supposed to be confidential, Johnson and

others at the Center became aware of Smith’s complaints. Subsequently, Johnson

began reprimanding and writing-up Smith without cause—for example, although



                                                Page 8 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
      Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 9 of 29




Smith had been training new employees to use the forklift and sweeper, Smith was

written-up for training an employee.

                                                27.

      Apparently fed up with Smith’s ongoing reports and complaints of sexual

harassment, in June 2018, Lehigh suspended Smith for purportedly failing to put on

a vest in violation of an unspecified safety rule. While in the break room, Smith

removed a vest to use the restroom. When returning to Smith’s work station, Smith

noticed that she was not wearing the vest and returned to the break room to put on

the vest. Although never working without the vest, Smith was then written-up,

suspended, and terminated, on or about June 25, 2018, based upon the purported

violation of safety rules.

                                                28.

      During the course of Smith’s employment with Lehigh, Smith witnessed and

observed several Lehigh employees, who suffered no adverse employment actions

after failing to wear a safety vest while working in the Center.

                                                29.

      Despite Johnson’s constant and unwelcome sexual comments and advances,

Smith performed diligently while employed as a Cleaner and Production Worker for

Lehigh.

                                                Page 9 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 10 of 29




                                                30.

      Although Smith diligently performed, Lehigh treated Smith unequivocally

and significantly less favorably than her male co-workers who were in similar and

comparable positions.

                                                31.

      Despite Smith’s complaints, reports, and notification of unlawful treatment

and sexual harassment, Lehigh did nothing to address Smith’s complaints and,

ultimately, terminated Smith’s employment days after Smith complained to Hard.

                                                32.

      Like Smith, other female employees at the Center who complained about

sexual harassment suffered adverse employment actions.                               For example, after

Rodricka Thrasher (“Thrasher”) complained about being sexually harassed by Gary

in management, Lehigh terminated Thrasher’s employment.                                  Following Nikki

Leonard’s (“Leonard”) complaints about sexual harassment, management merely

separated Leonard from the perpetrator, who nevertheless continued to sexually

harass Leonard despite repeated complaints.




                                                Page 10 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 11 of 29




                                  IV. CLAIMS FOR RELIEF

                                          COUNT I
                                  SEXUAL HARASSMENT
                               IN VIOLATION OF TITLE VII
                                 (Against Defendant Lehigh)

                                                33.

      Smith re-alleges and incorporates each and every preceding Paragraph of the

Complaint as if set forth fully herein.

                                                34.

      Title VII prohibits employers from discriminating against an employee based

upon sex or gender, which includes sexual harassment in the form of unwelcome

sexual advances, requests for sexual favors, and other verbal or physical conduct of

a sexual nature with the purpose or effect of unreasonably interfering with an

employee’s performance or creating an intimidating, hostile, and/or offensive work

environment.

                                                35.

      Defendants violated Title VII, such that a cause of action exists where

discrimination on the basis of gender/sex was the causative agent of adverse actions

directed at Smith by Defendants.




                                                Page 11 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 12 of 29




                                                36.

      While employed by Lehigh, Smith was forced to endure, because of her

gender/sex, a hostile work environment, where Smith was subjected to adverse

employment action(s) while forced to endure inflammatory remarks, harassment,

intimidation, humiliation without any legitimate basis, as well as constant

unwelcome sexual comments and advances without any legitimate basis.

                                                37.

      Smith, as a fifty (50) year old female, is a member of a protected group.

                                                38.

      From on or about March 16, 2016, until June 25, 2018, an employer-employee

relationship existed between Smith and Lehigh, such that Smith was an “employee”

and Lehigh was an “employer” within the meaning Title VII.

                                                39.

      At all times relevant to this action, Lehigh acted by and through its agents and

employees, including, but not limited to, Johnson who was Smith’s direct supervisor,

each of whom acted in the course and scope of their employment with and for

Lehigh.




                                                Page 12 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 13 of 29




                                                40.

      During the course of Smith’s employment, Johnson repeatedly subjected

Smith to unwelcome sexual comments and advances. For example, Johnson would

take out his penis and instruct Smith to put it on Smith’s forehead. Furthermore,

Johnson would take Smith to different locations in the Center, where Johnson would

attempt to force Smith to perform oral sex on Johnson. Additionally, Johnson would

repeatedly ask, “Wanna suck my dick?”

                                                41.

      Johnson’s almost daily unwelcome sexual comments and advances were

severe and pervasive, materially affecting the terms and conditions of Smith’s

employment.

                                                42.

      When Smith refused to comply with, and reported, Johnson’s constant,

unwelcome sexual comments and advances, Johnson began to subject Smith to

disparaging/demeaning comments, including calling Smith a “bitch,” and Lehigh

subjected Smith to tangible employment actions, including, but not limited to, write-

ups, suspension, and termination of Smith’s employment without cause.




                                                Page 13 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 14 of 29




                                                43.

      The discrimination to which Smith was subjected to by Defendants was based

upon gender/sex in violation of Title VII and, thus, Smith is entitled to all appropriate

relief provided under the law.

                                                44.

      Defendants’ actions constituted discrimination and disparate, adverse

treatment based upon gender/sex such that the intentional actions by Defendants

adversely impacted Smith’s terms, conditions, and privileges of employment.

                                                45.

      Defendants’ actions created a hostile work environment based upon

gender/sex such that the intentional actions by Defendants adversely impacted

Smith’s terms, conditions, and privileges of employment.

                                                46.

      Defendants’ discriminatory conduct was accomplished pursuant to an

unofficial policy, practice, and/or custom of Lehigh.




                                                Page 14 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 15 of 29




                                                47.

      As a direct and proximate result of Defendants’ intentional and unlawful

conduct, which was intended to cause Smith harm and/or was committed with

reckless disregard of the harm caused to Smith, in derogation of her Federally-

protected rights, Smith suffered and continue to suffer emotional pain and suffering,

mental anguish, humiliation, loss of enjoyment of life, embarrassment, danger to

their reputation, and other pecuniary loses.

                                                48.

      Defendants’ intentional and illegal conduct entitles Smith to compensatory

damages, as well as any and all other remedies available under Title VII.

                                                49.

      Defendants’ actions with regard to Smith demonstrate willful misconduct,

malice, fraud, wantonness, oppression, and a complete lack of care and, therefore,

Smith is entitled to an award of punitive damages to deter, punish, and penalize

Defendants for and from similar future conduct.




                                                Page 15 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 16 of 29




                                         COUNT II:
                                      RETALIATION
                               IN VIOLATION OF TITLE VII
                                 (Against Defendant Lehigh)

                                                50.

      Smith re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                                51.

      Title VII prohibits employers from retaliating against an employee who

opposes an employment practice prohibited by, or exercise or attempt to exercise

rights under, Title VII.

                                                52.

      Smith is a fifty (50) year old African-American female and member of a

protected group.

                                                53.

      During the relevant period, the relationship between Smith and Lehigh was an

employer-employee relationship within the meaning of Title VII, such that a cause

of action exists where retaliation on the basis of opposing and/or reporting

discrimination is alleged to be the causative agent of adverse employment action(s)

directed to Smith by Defendants.


                                                Page 16 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 17 of 29




                                                54.

       During the course of Smith’s employment, Defendants unlawfully and

knowingly discriminated against Smith based upon, among other things, gender/sex

in violation of, inter alia, Title VII.

                                                55.

       Smith repeatedly complained to Lehigh’s management and human resources

about unlawful employment practices based upon gender/sex and sexual harassment.

                                                56.

       Following Smith’s complaints concerning, among other things, unlawful

employment practices and sexual harassment, Johnson called Smith a “bitch” and

Lehigh took adverse employment actions against Smith, including, but not limited

to, writing-up, suspending, and terminating Smith’s employment without cause in

violation of, inter alia, Title VII.

                                                57.

       The effect of Defendants’ actions has been to suspend and deprive Smith of

an employment position, as well as loss income in the form of wages, prospective

retirement benefits, social security, and other benefits due Smith because of the

exercise of Smith’s Federally-protected rights.



                                                Page 17 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
         Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 18 of 29




                                                   58.

          Defendants’ adverse employment action(s) against Smith constitute unlawful

retaliation against Smith in violation of, inter alia, Title VII.

                                                   59.

          Defendants’ retaliatory actions were willful, deliberate, and intended to cause

Smith harm and/or were committed with reckless and wanton disregard of the harm

causes to Smith in derogation of Smith’s Federally-protected rights.

                                                   60.

          Defendants’ discriminatory and retaliatory actions were undertaken in bad-

faith.

                                                   61.

          The retaliation to which Smith was subjected by Defendants entitles Smith to

all appropriate relief afforded under the law.

                                                   62.

          As a result of Defendants’ intentional and unlawful actions, Smith has

suffered lost compensation and other benefits of employment, physical and

emotional distress, inconvenience, humiliation, damage to her reputation, other

indignities, as well as past and future pecuniary losses.



                                                   Page 18 of 29
         Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                              Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 19 of 29




                                                63.

      Defendants’ actions with respect to Smith have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Smith is entitled to an award of punitive damages to deter, punish, and

penalize Defendants for and from similar future conduct.

                            COUNT III:
                             ASSAULT
     IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
              (Against Defendants Lehigh and Johnson)

                                                64.

      Smith re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                65.

      Georgia law prohibits, among other things, attempted batteries and/or conduct

that places another person in reasonable apprehension of an immediate violent

injury.

                                                66.

      At all relevant times, Smith and Johnson were employed by Lehigh.




                                                Page 19 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 20 of 29




                                                67.

      During the course of employment, Smith was required, as a Cleaner and

Production Worker, to work under the instruction and direct supervision of Johnson

throughout the Center.

                                                68.

      Despite Smith’s objections and opposition, Johnson repeatedly made

unwelcome sexual comments and advances, as well as took Smith to different

locations in the Center, where Johnson would attempt to force Smith to perform

oral sex on Johnson.

                                                69.

      When Smith refused to comply with, and reported, Johnson’s constant,

unwelcome sexual comments and advances, Johnson began to subject Smith to

disparaging/demeaning comments, including calling Smith a “bitch.”

                                                70.

       Although Smith repeatedly complained to Lehigh management and human

resources concerning Johnson’s unwelcome sexual advances and remarks, as well

as threatening conduct, Lehigh failed to take any remedial action.




                                                Page 20 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 21 of 29




                                                71.

      As a direct result of Johnson’s repeated offense comments, sexist remarks,

profane statements, and aggressive acts, Smith reasonably apprehended a violent

injury and/or battery.

                                                72.

      All apparent circumstances, reasonably viewed, were such as to lead a person

to reasonably apprehend a violent injury and/or battery from Johnson’s unlawful

conduct.

                                                73.

      Johnson was not privileged, authorized, or justified when taking Smith to

locations in the Center, where Johnson would attempt to force Smith to perform oral

sex on Johnson, calling Smith a “bitch.”

                                                74.

      When Johnson assaulted Smith, Johnson was performing within the scope of

his employment with Lehigh.




                                                Page 21 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 22 of 29




                                                75.

      As the direct and proximate result of Defendants’ intentional, willful,

unlawful, and tortious conduct, Smith has suffered, among other things, fear,

humiliation, embarrassment, mental anguish, physical injuries, and damages in an

amount to be determined at trial.

                                                76.

      Defendants’ tortious actions and conduct were undertaken in bad-faith.

                                                77.

      The assaults to which Smith was subjected by Defendants entitles Smith to all

appropriate relief afforded under the law.

                                                78.

      Defendants’ actions with respect to Smith have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Smith is entitled to an award of punitive damages to deter, punish, and

penalize Defendants for and from similar future conduct.




                                                Page 22 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 23 of 29




                             COUNT IV:
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
      IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
               (Against Defendants Lehigh and Johnson)

                                                79.

      Smith re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                80.

      Defendants’ statements, conduct, and behavior towards Smith were

intentional and reckless, extreme and outrageous, causing Smith severe shame,

humiliation, embarrassment, and emotional distress of a nature that no person should

endure.

                                                81.

      Defendants’ statements, conduct, and behavior towards Smith demonstrate,

among other things, a “retaliatory animus.”

                                                82.

      At all relevant times, the Parties had a special, employer-employee

relationship, wherein Defendant had control over Smith, as well as Smith’s income

and/or livelihood.




                                                Page 23 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 24 of 29




                                                83.

      When engaging in the intentional, reckless, extreme, and outrageous conduct

towards Smith, Defendants knew that Smith was dependent upon the income

received from Lehigh.

                                                84.

      Johnson referred to Smith as a “bitch,” attempted to force Smith to perform

oral sex, and made other unwelcome sexual remarks and advances while Smith

attempted to diligently perform her professional duties and responsibilities.

                                                85.

      Defendants knew or should have known that such conduct would result in the

severe emotional distress suffered by Smith.

                                                86.

      As a result of Defendants’ conduct, Smith has and will continue to suffer

severe emotional distress and other damages for which Smith is entitled to recover.




                                                Page 24 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 25 of 29




                                  COUNT V
                 NEGLIGENT RETENTION AND SUPERVISION
                     IN VIOLATION OF GEORGIA LAW
                          (Against Defendant Lehigh)

                                                87.

      Smith re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                88.

      As a result of the actions taken by Defendants, Smith suffered, among

other things, discrimination based gender/race and retaliation.

                                                89.

      Defendants owed Smith a duty to hire, retain, and supervise employees who

would lawfully conduct themselves and not engage in discriminatory, retaliatory,

and/or tortious conduct.

                                                90.

      By negligently retaining and supervising its employees, including, but not

limited to, Johnson, Lehigh breached its duty to hire, retain, and supervise employees

who would lawfully behave.




                                                Page 25 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 26 of 29




                                                91.

      Lehigh knew or, in the exercise of ordinary diligence, should have known of

the propensity of its employees, to engage in unlawful conduct against Smith.

                                                92.

      Like Smith, other female employees at the Center who complained about

sexual harassment suffered adverse employment actions.                               For example, after

Thrasher complained about being sexually harassed by Gary in management, Lehigh

terminated Thrasher’s employment. Following Leonard’s complaints about sexual

harassment, Leonard was subjected to additional harassment despite repeated

complaints.

                                                93.

      By failing to engage in any corrective or remedial action, Lehigh ratified,

condoned, and/or adopted its employees’ unlawful conduct

                                                94.

      As a direct and proximate result of Lehigh’s negligent retention and

supervision of its employees, as well as the failure to take any remedial or corrective

action with respect to the known unlawful actions taken by employees, including,

but not limited to, Johnson, Smith suffered damages



                                                Page 26 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 27 of 29




                                                95.

      Lehigh’s negligent conduct entitles Smith to compensatory damages, punitive

damages, as well as any and all other remedies available under the law.

                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully demand a trial by jury and request the

following relief:

      (a)      That the Clerk of the Court issue summons and original process, served

               upon Defendants and any other person or entity the Court deems

               necessary in accordance with the law;

      (b)      That the Court grant declaratory judgment that Smith’s rights under,

               among other laws, Title VII were violated;

      (c)      That the Court award Smith compensatory damages for all injuries

               suffered as a result of Defendants’ unlawful conduct;

      (d)      That the Court award back pay, including, but not limited to, unpaid

               back wages, lost income, bonuses, incentive compensation, pension,

               social security, and other benefits in amounts to be shown at trial;

      (e)      That the Court award liquidated damages equal to back pay and lost

               benefits based upon Defendants’ willful violations of, inter alia, Title

               VII;

                                                Page 27 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 28 of 29




 (g)     That the Court award punitive damages in an amount reasonable and

         commensurate with the harm done and calculated to be sufficient to

         deter such future conduct;

 (h)     That the Court award pre-judgment interest on any monetary award;

 (i)     That the Court grant a trial by jury as to all triable issues of fact; and

 (j)     Further and additional relief as may be just and appropriate.

 Respectfully submitted, this 4th day of December, 2020.

                                             MOLDEN & ASSOCIATES

                                              /s/ Regina S. Molden
                                             REGINA S. MOLDEN
                                             Georgia Bar No. 515454
                                             T. ORLANDO PEARSON
                                             Georgia Bar No. 180406
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                                             Counsel for Plaintiff Regina D. Smith




                                          Page 28 of 29
Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                     Complaint for Damages
     Case 1:20-cv-04923-SDG-JSA Document 1 Filed 12/04/20 Page 29 of 29




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  REGINA D. SMITH,

         Plaintiff,

         vs.                                            CIV. ACTION NO._______________

  LEHIGH TECHNOLOGIES, INC.,
  and JONTA JOHNSON,                                    JURY TRIAL DEMANDED

         Defendant.


                 LOCAL RULE AND SERVICE CERTIFICATION

      The undersigned counsel certifies that this document has been prepared in

accordance with the Local Rules and that the foregoing Complaint for Damages has

been filed with the Clerk using the CM/ECF system which will notify the attorney(s)

of record.

      Respectfully submitted, this 4th day of December, 2020.

                                                   MOLDEN & ASSOCIATES

                                                    /s/ T. Orlando Pearson
                                                   T. ORLANDO PEARSON
                                                   Georgia Bar No. 180406




                                                Page 29 of 29
      Smith v. Lehigh Technologies, Inc., and Johnson, U.S. District for the Northern District of Georgia
                                           Complaint for Damages
